




02-12-477-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. 02-12-00478-CR

&nbsp;

&nbsp;


 
  
  Derrick
  Lee Holzhey
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From the 297th District
  Court
  &nbsp;
  of
  Tarrant County (1084227D)
  &nbsp;
  December
  6, 2012
  &nbsp;
  Per
  Curiam
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
court has considered the record on appeal in this case and holds that the
appeal should be dismissed.&nbsp; It is ordered that the appeal is dismissed.

&nbsp;

&nbsp;

SECOND DISTRICT COURT OF APPEALS 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. 02-12-00476-CR

NO. 02-12-00477-CR

NO. 02-12-00478-CR

&nbsp;

&nbsp;


 
  
  Derrick Lee Holzhey
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

----------

FROM THE 297th
District Court OF Tarrant COUNTY

----------

MEMORANDUM
OPINION[1]

----------

Appellant
Derrick Lee Holzhey attempts to appeal from his three convictions and
concurrent two-year sentences for two assault
on a public servant charges and one charge of burglary of a habitation. &nbsp;The
trial court’s certification of his right to appeal for each of these
convictions states that this “is a plea-bargain
case, and the defendant has NO right of appeal.”

On October
11, 2012, this court notified appellant about the statement on the trial
court’s certifications and informed him that unless he or any party desiring to
continue the appeals filed with the court, on or before October 22, 2012, a
response showing grounds for continuing the appeals, the appeals may be dismissed. &nbsp;See Tex. R. App. P. 25.2(a)(2), (d), 44.3. &nbsp;We
have received no response. &nbsp;Therefore, we dismiss these
appeals. &nbsp;See Tex. R. App. P. 25.2(d), 43.2(f); Chavez v. State,
183 S.W.3d 675, 680 (Tex. Crim. App. 2006).

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp;
LIVINGSTON,
C.J.; DAUPHINOT and GARDNER, JJ.

&nbsp;

DO
NOT PUBLISH

Tex.
R. App. P. 47.2(b)

&nbsp;

DELIVERED:&nbsp; December 6, 2012









[1]See Tex. R. App. P. 47.4.







